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 1   DWIGHT M. SAMUEL (CA SB# 054486)
     A Professional Corporation
 2   117 J Street, Suite 202
 3   Sacramento, California 95814-2282
     Telephone: (916) 447-1193
 4   E-Mail: dmsamuel@oldsaclaw.com

 5   Attorney for Defendant
     PRASERT SOMSINSAWASDI
 6
 7
 8                       IN THE UNITED STATES DISTRICT COURT
 9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
     UNITED STATES OF AMERICA        )             CASE NO.: CR-06-343-DFL
12                                   )
          Plaintiff,                 )             REQUEST FOR ORDER
13                                   )             AND ORDER
14        v.                         )             EXONERATING BOND
                                     )
15   PRASERT SOMSINSAWASDI,          )
                                     )             Date: No date
16        Defendant.                 )             Time: No time
     ________________________________)             Judge: David F. Levi
17
18
19         On or about September 22, 2006, a $185,000 appearance bond, secured by a deed
20   against the real property of Aranya Poolsaad, located at 1681 Jademoon Lane, Beaumont,
21
     CA, was posted on behalf of Prasert Somsinsawasdi.
22
           Sisouk Soukasene and La Soukasene have signed an appearance bond, secured
23
     by deed against the real property located at 6705 50th Street, Sacramento, CA in
24
25   substitution of Ms. Poolsaad’s property. Government and defense council have stipulated

26   to this substitution and agree to that the substitution as well as all other bonds will

27   guarantee presence of defendant.
28
           It is hereby requested that the $185,000 secured appearance bond secured by Ms.
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 1   Poolsaad’s property at 1681 Jademoon Lane, Beaumont, CA be exonerated.
 2
 3
     Dated: May 31, 2007                   Respectfully submitted,
 4
 5
                                                 __/S/Dwight M. Samuel_____
 6
                                                 Dwight M. Samuel
 7                                               Attorney for Defendant
                                                 Prasert Somsinsawasdi
 8
 9
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12
           IT IS HEREBY ORDERED that the bail bond in the amount of $185,000 posted by
13
14   Aranya Poolsaad and secured by a Deed of Trust for her home is hereby exonerated.

15
16   Dated: June 6, 2007
17
18
                                                 /s/ David F. Levi
19                                               Honorable David F. Levi
                                                 U.S. District Court Judge
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     Case 2:06-cr-00343-JAM Document 129 Filed 06/07/07 Page 3 of 3


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